Case 1:23-cv-00108-LMB-JFA Document 659 Filed 05/17/24 Page 1 of 2 PageID# 14148




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
  UNITED STATES, et al.,                        )
                                                )
                        Plaintiffs,             )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                        Defendant.              )

   PLAINTIFFS’ NOTICE OF FILING OF ADDITIONAL EXHIBITS IN SUPPORT OF
       OPPOSITION TO GOOGLE’S MOTION FOR SUMMARY JUDGMENT

         Plaintiffs hereby file the following additional exhibits that have been cited in their

  Opposition to Google’s Motion for Summary Judgment, and referenced in the Declaration of

  Aaron Teitelbaum, ECF No. 656-1:

                                       EXHIBITS 61-80

         These additional exhibits are included as attachments to this Notice.
Case 1:23-cv-00108-LMB-JFA Document 659 Filed 05/17/24 Page 2 of 2 PageID# 14149




  Dated: May 17, 2024

  Respectfully submitted,

  JESSICA D. ABER                       JASON S. MIYARES
  United States Attorney                Attorney General of Virginia

  /s/ Gerard Mene                       /s/ Tyler T. Henry
  GERARD MENE                           STEVEN G. POPPS
  Assistant U.S. Attorney               Deputy Attorney General
  2100 Jamieson Avenue                  TYLER T. HENRY
  Alexandria, VA 22314                  Assistant Attorney General
  Telephone: (703) 299-3777
  Facsimile: (703) 299-3983             Office of the Attorney General of Virginia
  Email: Gerard.Mene@usdoj.gov          202 North Ninth Street
                                        Richmond, VA 23219
  /s/ Julia Tarver Wood                 Telephone: (804) 692-0485
  JULIA TARVER WOOD                     Facsimile: (804) 786-0122
  CRAIG L. BRISKIN                      Email: thenry@oag.state.va.us
  ALVIN H. CHU
  KATHERINE E. CLEMONS                  Attorneys for the Commonwealth of
  ANDREW L. KLINE                       Virginia and local counsel for the
  VICTOR K. LIU                         States of Arizona, California,
  CHASE E. PRITCHETT                    Colorado, Connecticut, Illinois,
  AARON M. TEITELBAUM                   Michigan, Minnesota, Nebraska, New
                                        Hampshire, New Jersey, New York,
  United States Department of Justice   North Carolina, Rhode Island,
  Antitrust Division                    Tennessee, Washington, and West
  450 Fifth Street NW, Suite 7100       Virginia
  Washington, DC 20530
  Telephone: (202) 307-0077
  Fax: (202) 616-8544
  Email: Julia.Tarver.Wood@usdoj.gov

  Attorneys for the United States
